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                                                  IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                            FOR THE COUNTY OF MARION

   ORACIE ARNOLD, an individual; UR ETTA BAKER, an
   individual; KIYLYNN DAWKINS, an individual; HANNE                                               Case No. 25CV05549
   HOPKINS, an individual; ANA MCCLAVE, an individual;                                             SUMMONS
   CALI MCCLAVE, an individual; JODI NOYES, an
   individual; KAfLIANA RAMOS, an individual; and PT'O
   TU'TVAI, an individual,

                                                      Plaintiff,
                                                                                                                                � lit b l!i lVll!l;)
                v,                                                                                             Western Oregon University
   WESTERN OREGON UNIVERSITY, a public university of
   the State of Oregon; JESSICA PEATROSS, in her individual
                                                                                                                                FEB O 3 2025
   capacity; DEMENTRUS MARLOW, in his individual
   capacity; JESSE PETERS, in his individual capacity;                                                                          Office of the
   MALiSSA LARSON; in her individuai capacity; and                                                                               President
   RANDI LYDUM, in her individual capacity,

                                                      Defendant.
 TO:         Jesse Peters
             10360 Elkins Rd
             Monmouth OR 97361

          Ynn ::trP hnPhy TP'}llfrt>rl tn ::ippPAr Anrl rlPfPnrl thP rnmpl::iint filPrl neninst ynn in thP ;:ihnw• Pnttf'lPrl :oirtinn within
 thirty {30) days from the date of service of this summons upon you, and in case of your failure to £so, for want thereof,
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 plnintiff{8) will apply to the. cmll"t for the. re.lid rle.man<le.<l in the. complaint.
                                                                                                       -                    / /I.             ./
    NOTICE TO THE DEFENDANT: READ THESE PAPERS
                    CAREFULLY!                                                                    SI

                                                                                                               afoury, OSB No. 091200
        You must "appear" in this case or the other side will win                                 ATTORNEY'S/AUTHOR'S NAME {TYPED OR PRINTED) BAR NO. (IF ANY)
  automatically. To "appear" you must file with the court a legal
  paper called a "'motion" or "answer." The "motion" or "answer'                                  Kafomy & McDougal, 411 SW Second Ave, Ste 200
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  along with the required filing fee, It must be in proper form and                               Portland OR 97204                                   /503) 224-264 7
  have proof of service on the plBintiffs attorney or, if the pltiintiff                          CITY                          STATE                    ZlP                  PHONE

  rices not have an attorney, proof of service upon !he plaintiff.
        If you have any questions, you should see an attorney                                    Jason Kafoury, OSB No. 091200
                                                                                                 TRIALATIORNEY IF OTHER THAN ABOVE (TYPED OR PRINTED)                             BAR NO,
  immediately. If you need help in finding an attomey1 you may call
  the Oregon State Bar's Lawyer Referral Service at (503} 684-3763
  or toll-free in Oregon at (800) 452-7636.

STATE OF OREGON
                                                                                                                                                        /
County of Multnomah
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the original sumr:nons in the above entitled action.

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                                                                                                      ___,!:C'.:_________
                                                                                         Jason Kafowy, OSB No. 091200, Attorney of Record for
                                                                                         Plaintiffs
TO THE OFF[CER OR OTHER PERSON SERV[NG THIS SUMMONS: You are hereby directed to seyve a true copy of this
summons, together with a true copy of the complaint mentioned therein, upon the individual(sWr other legal entityjies} to
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similar document which you shall attach hereto.




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